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        Exhibit I
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                                                              Exhibit I - U.S. Patent No. 10,810,579

Claim No.                          Apple Pay- and/or Apple Wallet-Enabled Computing Device
19[Pre] An electronic device       An Apple Pay and/or Apple Wallet-enabled computing device is an electronic device comprising the following limitations.
comprising:




                                   See, e.g., Apple Pay, Apple, https://www.apple.com/apple-pay/; Devices compatible with Apple Pay, Apple (Sept. 24, 2024),
                                   https://support.apple.com/en-us/102896; Abby Ferguson, How to set up Apple Pay, Popular Sci. (May 12, 2024 3:04 PM EDT),
                                   https://www.popsci.com/diy/how-to-set-up-apple-pay/ (“[The Wallet app] is pre-installed on Apple devices, so you won’t need
                                   to install it first.”).
 19[a] at least one processor;     An Apple Pay and/or Apple Wallet-enabled computing device includes at least one processor, a memory coupled to the at least
                                   one processor, and a display operable to present a visual user-interface comprising device inputs; display output.
 19[b] a memory coupled to
 the at least one processor;

 19[c] a display operable to
 present a visual user-interface
 comprising device inputs;
 display output;



                                                                                                                                  [. . .]



                                   See, e.g., iPhone, Apple, https://www.apple.com/iphone/.
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Claim No.                      Apple Pay- and/or Apple Wallet-Enabled Computing Device




                               See, e.g., Compare iPhone Models, Apple, https://www.apple.com/iphone/compare/.




                                                                                                                       [. . .]




                               See, e.g., Watch, Apple, https://www.apple.com/watch/.
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Claim No.                      Apple Pay- and/or Apple Wallet-Enabled Computing Device




                               See, e.g., What's the difference between device storage and iCloud storage?, Apple (Sept. 16, 2024), https://support.apple.com/
                               en-us/102670; If your Apple Watch storage is full, Apple (Sept. 16, 2024), https://support.apple.com/en-us/102407.




                               See, e.g., Apple Platform Security, How Apple Pay keeps users’ purchases protected, Apple (Feb. 18, 2021),
                               https://support.apple.com/guide/security/how-apple-pay-keeps-users-purchases-protected-seccb53a35f0/web.
 19[d] a device input;         An Apple Pay and/or Apple Wallet-enabled computing device includes a device input.
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Claim No.                      Apple Pay- and/or Apple Wallet-Enabled Computing Device




                               See, e.g., iPhone User Guide – iOS 18, Use Apple Pay for contactless payments on iPhone, Apple, https://support.apple.com/
                               guide/iphone/use-apple-pay-for-contactless-payments-iphbd4cf42b4/ios




                               See, e.g., Use the buttons and screen on your Apple Watch, Apple (Nov. 28, 2023), https://support.apple.com/en-us/105063.
 19[e] an NFC interface        An Apple Pay and/or Apple Wallet-enabled computing device includes an NFC interface operable to receive a transaction
 operable to receive a         request when in proximity to an NFC recipient.
 transaction request when in
 proximity to an NFC
 recipient;




                               See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554.




                               See, e.g., Apple Platform Security, Apple Pay component security, Apple (May 13, 2022), https://support.apple.com/guide/
                               security/apple-pay-component-security-sec2561eb018/web.
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Claim No.                          Apple Pay- and/or Apple Wallet-Enabled Computing Device
19[f] wherein the processor is     The processor of an Apple Pay and/or Apple Wallet-enabled computing device is operable to execute a program to implement a
operable to execute a program      payment method comprising accepting a priming action of the electronic device by an identified device user, from the device
to implement a method              input; enabling the electronic device for imminent performance of a payment operation responsive to the priming action of a
comprising:                        valid user; displaying a summary of selectable payment account options on the display; and receiving a payment selection and
                                   approval authorization from a valid device user via the device input.
 19[g] accepting a priming
 action of the electronic device
 by an identified device user,
 from the device input;

 19[h] enabling the electronic
 device for imminent
 performance of a payment
 operation responsive to the
 priming action of a valid user;

 19[i] displaying a summary of
 selectable payment account
 options on the display;

 19[j] receiving a payment
 selection and approval
 authorization from a valid
 device user via the device
 input; and




                                   See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626; Lance Whitney,
                                   Pay With Your iPhone: How to Set Up and Use Apple Pay in-Store and Online, PC Magazine (Sept. 14, 2023),
                                   https://www.pcmag.com/how-to/how-to-set-up-and-use-apple-pay.
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Claim No.                         Apple Pay- and/or Apple Wallet-Enabled Computing Device




                                  See, e.g., The MacWhisperer Academy, How to Use Apple Pay, YouTube (Aug. 3, 2024), https://www.youtube.com/
                                  watch?v=v7hJuzw8FC0.
 19[k] responsive to receiving    An Apple Pay and/or Apple Wallet-enabled computing device, responsive to receiving an NFC transaction payment request,
 an NFC transaction payment       generates a limited-use payment information for use in place of card issuer payment information, wherein the NFC interface is
 request, generating a limited-   operable to transmit said payment information from said electronic device to the NFC recipient of the transaction.
 use payment information for
 use in place of card issuer
 payment information,

 19[l] wherein the NFC
 interface is operable to
 transmit said payment
 information from said
 electronic device to the NFC
 recipient of the transaction;
 and




                                  See, e.g., Apple Pay security and privacy overview, Apple (Apr. 12, 2024), https://support.apple.com/en-us/101554; Apple
                                  Platform Security, Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/guide/security/
                                  payment-authorization-with-apple-pay-secc1f57e189/web; How to make purchases with Apple Card, Apple (Sept. 18, 2024),
                                  https://support.apple.com/en-us/104951 (“Pay with Apple Card anywhere Apple Pay is accepted[.]”); Apple Cash, Apple,
                                  https://www.apple.com/apple-cash/ (“When you make a purchase with Apple Pay, it uses a device-specific number and unique
                                  transaction code.”).
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Claim No.                      Apple Pay- and/or Apple Wallet-Enabled Computing Device
19[m] wherein further the      The processor in an Apple Pay and/or Apple Wallet-enabled computing device is operable to cause the display to visually
processor is operable to cause convey a status of the transaction.
the display to visually convey
a status of the transaction.




                                See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626; Lance Whitney,
                                Pay With Your iPhone: How to Set Up and Use Apple Pay in-Store and Online, PC Magazine (Sept. 14, 2023),
                                https://www.pcmag.com/how-to/how-to-set-up-and-use-apple-pay.
